Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 1 of 10
Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 2 of 10
Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 3 of 10
Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 4 of 10
Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 5 of 10
Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 6 of 10
Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 7 of 10
Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 8 of 10
Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 9 of 10
Case 1:09-cr-20628-DLG Document 1264 Entered on FLSD Docket 08/31/2011 Page 10 of 10
